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            ORDERED in the Southern District of Florida on September 27, 2019.




                                                               A. Jay Cristol, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov

          In re:

          ASTOR EB-5, LLC,                                           Case No.: 18-24170-AJC
                                                                     Chapter 11

                      Debtors.
          ____________________________________/

                       ORDER ON VARIOUS MOTIONS HEARD ON SEPTEMBER 27, 2019

                   THIS CASE having come before the Court, on September 27, 2019 at 10:30 AM upon the

          following matters: (1) the Shareholder’s Motion for Entry of an Order Dismissing Chapter 11 Case

          [ECF No. 148] (the “Motion to Dismiss”); (2) the Debtor’s Joinder in Shareholder’s Motion for

          Entry of an Order Dismissing Chapter 11 Case [ECF No. 157] (the “Joinder”); and (3) Astor EB-

          5 Funding, LLC’s Response in Opposition to Shareholder’s Motion for Entry of an Order

          Dismissing Chapter 11 Case and Request to Appoint a Chapter 11 Trustee, or in the Alternative,

          Convert Chapter 11 Case to Chapter 7 Case [ECF NO. 158] (the “Motion to Appoint a Trustee”);

          (4) Debtor’s Motion to Approve a Compromise and Settlement with Astor Funding



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LLC and 1651 Astor, LLC [ECF NO. 176] (the “Motion to Approve Settlement”); and (5)

Objection Claims of David J. Hart, Maria Claudia Gallo Lodo, Astor EB-5 Funding, LLC and

Alejandro Martinez [ECF NO. 122] (the “Claim Objections”). The Court, having reviewed the

Motions to Dismiss, Joinder and Motion to Appoint a Trustee, Motion to Approve Settlement and

Claim Objections, with all parties hereto being represented by counsel, all parties having

submitted themselves to the jurisdiction of this Court, and the Debtor and the parties’

respective counsel having confirmed the terms of the settlement, and the Court being

otherwise fully advised,

         IT IS ORDERED AND ADJUDGED:

         1.     The Motion to Approve Settlement is GRANTED.

         2.     The Shareholder’s Motion to Dismiss and Joinder by Debtor are GRANTED.

         3.     The Motion to Appoint a Chapter 11 Trustee is DENIED.

         4.     The Claim Objections are DENIED AS MOOT.

         5.     IT IS FURTHER ORDERED that this chapter 11 case is dismissed with prejudice

to the filing of a petition under chapter 11 of the Bankruptcy Code for a period of one year from

the date of this Order, and it is further

         6.     ORDERED that the debtor, shall pay the United States Trustee the appropriate sum

required pursuant to 28 U.S.C. Section 1930(a)(6) within ten (10) days of the entry of this Order

and shall simultaneously file and provide to the United States Trustee appropriate affidavits

indicating the cash disbursements for the relevant periods since the period reported on the last

debtor-in- possession report filed by the debtor, and it is further

         7.     ORDERED that the debtor shall pay the Bankruptcy Clerk of the Court any

outstanding fees, costs and charges in connection with this case within ten (10) days of the entry




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of this Order, and it is further

         8.     ORDERED that the Court shall retain jurisdiction to enforce the terms of the

Funding Settlement Agreement and the Landlord Settlement Agreement, unless the State Court

retains such jurisdiction; and it is further

         9.     ORDERED that the Court shall retain jurisdiction to enforce the provisions of this

Order.

                                                  ###

Submitted by:
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Attorney Adam I. Skolnik is directed to serve a conformed copy of this Order on all interested
parties immediately upon receipt hereof and to file a certificate of service.




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